ESTATE OF O. A. WRIGHT, PEARL ROSS WRIGHT, ADMINISTRATRIX, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Wright v. CommissionerDocket No. 12096.United States Board of Tax Appeals12 B.T.A. 999; 1928 BTA LEXIS 3418; June 29, 1928, Promulgated *3418  At the request and direct of the administratrix the attorneys for an estate filed a written request under section 250 of the Revenue Act of 1921 signed with the firm name, asking the Commissioner to determine and assess all income taxes on income received by decedent during his lifetime.  Held, that such notice was sufficient to start the running of the statute of limitations.  James H. Winston, Esq., for the petitioner.  J. L. Backstrom, Esq., for the respondent.  MORRIS*999  This proceeding is for the redetermination of a deficiency in income tax of $20,220.87 for the calendar year 1921 on the income of O. A. Wright received during his lifetime.  The error alleged is that the respondent refused to obey and be governed by the limitations of section 250(d) and 277(a)(3) of the Revenue Acts of 1921 and 1924, respectively.  *1000  FINDINGS OF FACT.  The petitioner is the widow of O. A. Wright, who died intestate on May 15, 1922, leaving as his heirs and next of kin, his widow and a son, Oliver A. Wright, Jr.  Prior to his death the decedent had filed, within the time and in the form required by statute, his income-tax return for 1921. *3419  Shortly after his death, letters testamentary were issued by the Probate Court of Cook County, Illinois, to his widow, who qualified as administratrix of his estate.  The decedent was represented prior to his death, and his estate thereafter, by the law firm, Winston, Strawn &amp; Shaw of Chicago.  On or about June 8, 1922, the administratrix filed form number 704, entitled "Sixth-Day Notice - Estate of Resident" with the collector of internal revenue, whereon it was stated that the attorneys for the administratrix were Winston, Strawn &amp; Shaw.  On or about May 15, 1923, the return for federal estate tax was filed, which showed the same attorneys representing the estate.  Thereafter, and on September 14, 1923, the following letter was mailed to the Commissioner of Internal Revenue: COMMISSIONER OF INTERNAL REVENUE, Washington, D.C.DEAL SIR: Oliver A. Wright, of Chicago, Illinois, died on May 15, 1922.  In accordance with the provisions of Section 250 of the Income Tax Act, Mrs. Pearl R. Wright, administratrix of the estate of Oliver A. Wright, desires that all income taxes on income accruing during the lifetime of Mr. Wright be determined within a year from the date of this*3420  notice.  Yours very truly.  (Signed) WINSTON, STRAWN &amp; SHAW.  54-HCD The date and time of receipt of the letter was stamped on the face thereof as "1923 Sep 17 A M 8 23." The letter had been prepared by the attorneys at the request of the administratrix, who saw and approved the same and directed that it be sent.  At the time the above letter was received by the Commissioner eight members of the law firm of Winston, Strawn &amp; Shaw were duly enrolled and authorized to practice before the Treasury Department.  On December 3, 1924, the administratrix presented her final account and report to the probate court, which report was approved, and the administratrix discharged.  On July 8, 1925, pursuant to the first request therefor from the respondent, a power of attorney was filed with the Bureau, as follows: KNOW ALL MEN BY THESE PRESENTS That I, PEARL R. WRIGHT, of Houston, Texas, as Administratrix heretofore appointed (and now discharged by order of court) or the Estate of Oliver A. Wright, deceased, do hereby make, constitute and appoint WINSTON STRAWN &amp; SHAW, JAMES H. WINSTON, FREDERICK *1001  C. HACK AND HOWARD KROEHL, and each of them, my true and lawful attorneys*3421  for me and in my name, place and stead to appear before the Treasury Department of the United States Government, or the Commissioner of Internal Revenue of the United States Government, or the Solicitor of Internal Revenue of the United States Government, or before any person, committee, board or other body within the Treasury Department of the Department of Internal Revenue, in connection with income tax returns made by Oliver A. Wright, now deceased, during his lifetime, and in connection with an income deficiency tax for any years prior to Mr. Wright's death which occurred in May, 1922, and at all times to act on my behalf in such connection and granting unto my said attorneys and each of them, full power and authority to do and perform all and every act and thing whatsoever necessary, requisite and proper to be done in the premises as fully to all intents and purposes as I might or could do, with full power of substitution and revocation, hereby ratifying and confirming all that my said attorneys or each or any of them or their substitutes shall lawfully do or cause to be done by virtue hereof.  IN WITNESS WHEREOF I have hereunto set my hand and seal this 16 day of June, A.D. *3422  1925.  PEARL R. WRIGHT [SEAL], As Administratrix heretofore appointed (and now discharged by order of court) of the Estate of Oliver A. Wright, deceased.Prior thereto no power of attorney in such form, or in substantially such form, had been filed by the administratrix.  Thereafter, by letter dated September 19, 1925, the respondent notified the administratrix of a deficiency in tax on 1921 income in the sum of $20,220.87.  This letter was followed by the regular notice of deficiency, dated December 30, 1925.  The petition was filed February 16, 1926.  OPINION.  MORRIS: The only question involved is whether the letter of September 14, 1923, is a sufficient request under the provisions of section 250(d) of the Revenue Act of 1921, so that the assessment and collection of the tax in controversy are barred.  The pertinent portions of that section are as follows: The amount of income, excess-profits, or war-profits taxes due under any return made under this Act for the taxable year 1921 or succeeding taxable years shall be determined and assessed by the Commissioner within four years after the return was filed, * * * Provided, That in the case of income received*3423  during the lifetime of a decedent, all taxes due thereon shall be determined and assessed by the Commissioner within one year after written request therefor by the executor, administrator, or other fiduciary representing the estate of such decedent; * * *.  The Revenue Acts of 1924 (section 277(a)(3)) and 1926 (section 277(a)(4)) contain a similar provision.  We are convinced that the letter of September 14, 1923, which was received by the respondent, constituted a "written request" as provided for in section 250(d) supra. The language therein contained *1002  is clear, intelligible, and to the point, informing the respondent that the decedent passed away on May 15, 1922, that in accordance with section 250 the administratrix desired to have all income taxes on income accruing during the lifetime of the decedent determined within a year from the date of the notice, thus clearly connecting the request with section 250(d) of the Revenue Act then in force.  The argument of respondent that the request is ineffective because Winston, Strawn &amp; Shaw signed the letter without having a power of attorney on file with the Bureau of Internal Revenue is without force and of no moment. *3424  Under the section of law previously quoted the requirement is stated as merely a "written request therefor by the executor, etc." The administratrix, herself, in the body of the letter made the request.  The right to make such a request was conferred by statute, and the exercise thereof involved no practice before the Bureau.  The respondent, however, was put on notice on two separate occasions through the filing by the administratrix of forms prescribed by the Bureau that Winston, Strawn and Shaw were her attorneys.  The request which they signed was specifically authorized by the administratrix; she saw and approved it before it was sent and directed the attorneys to send it.  To all intents and purposes the signature of Winston, Strawn &amp; Shaw, under the facts herein, was just as effectual to start the running of the statute of limitations as the personal signature of the administratrix.  The respondent was thereby put on notice, and his failure to act within the period of one year thereafter bars a subsequent determination and assessment of a deficiency.  Reviewed by the Board.  Judgment will be entered for the petitioner.MILLIKEN concurs in the result.  SMITH AND*3425  VAN FOSSAN dissent.  